                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

                CRIMINAL MINUTES - SENTENCING AND JUDGMENT

U.S.A. vs. JASON JENNINGS MELTON                                    Date: September 13, 2012

Case No. 3:10-CR-126                                                At: Knoxville

PROCEEDINGS: Sentencing Hearing – Defendant sworn. Amanda Latham, USPO, testifies as
to defendant’s criminal history. The parties addressed pending cases and parole violations that effect
concurrent/consecutive sentencing. The Court accepts the plea agreement.

Present: HONORABLE THOMAS W. PHILLIPS, UNITED STATES DISTRICT JUDGE


Angela Archer                         Netta Kocuba                          Kelly Ann Norris
Deputy Clerk                          Court Reporter                        Assistant US Atty


Phil Lomonaco                                                               Amanda Latham
Attorney(s) for Deft                                                        Probation Officer

Others present: CSO, USM
[X] Defendant is sworn
[X] Defendant is given opportunity to speak and [] speaks; [X] declines to speak
[] Govt moves for downward departure [] granted [] denied
[] Dft moves for downward variance [] granted [] denied
[] Govt moves for third point reduction for acceptance of responsibility [] granted [] denied

[X] COURT PRONOUNCES JUDGMENT: The defendant is sentenced to 180 months and five
years supervised release.

[] Restitution:

[X] Special Assessment: $100.00

[X] Defendant remanded to custody           [] Released on bond
[] Defendant to self-report as notified by the U.S. Marshal




Time 9:30       to   10:30




   Case 3:10-cr-00126 Document 119 Filed 09/13/12 Page 1 of 1 PageID #: 756
